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                  UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF GEORGIA (ATLANTA)

DEBRA LOTT,                               §
                                          §
      Plaintiff,                          §
                                          §
v.                                        § Case No. 1:19-CV-05861-SDG-LTW
                                          §
RADIUS GLOBAL SOLUTIONS,                  §
LLC,                                      §
                                          §
                                          §
                                          §
      Defendant.                          §

            RADIUS GLOBAL SOLUTIONS, LLC’S
ANSWER & AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

      Defendant, Radius Global Solutions, LLC (“RGS”), through counsel and

pursuant to the Federal Rules of Civil Procedure, submits this answer and

affirmative defenses to the complaint filed by plaintiff, Debra Lott, and states:

                         PRELIMINARY STATEMENT

      RGS admits only that plaintiff purports to bring this action for alleged

violations of the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692,

et seq., and the Georgia Fair Business Practices Act (“FBPA”), O.C.G.A. § 10-1-

390, et seq., but denies any and all violations, liability, damages, and/or




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wrongdoing. Except as specifically admitted, RGS denies the allegations in the

unnumbered paragraph.

                                     PARTIES

      1.     Upon information and belief, RGS admits plaintiff is a natural person

and resides in Bibb County, Georgia.

      2.     RGS admits the allegations in ¶ 2.

                             JURISDICTION AND VENUE

      3.     RGS denies the allegations in ¶ 3 as calling for a legal conclusion.

      4.     RGS denies the allegations in ¶ 4 as calling for a legal conclusion.

      5.     RGS denies the allegations in ¶ 5 as calling for a legal conclusion.

      6.     RGS denies the allegations in ¶ 6 as calling for a legal conclusion.

                           FACTUAL ALLEGATIONS

      7.     RGS denies the allegations in ¶ 7 for lack of knowledge or

information sufficient to form a belief therein.

      8.     RGS denies the allegations in ¶ 8 as calling for a legal conclusion.

      9.     RGS admits only that part of its business involves the collection of

unpaid accounts and obligations. Except as specifically admitted, RGS denies the

allegations in ¶ 9.



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      10.    http://www.radiusgs.com/about-us/ speaks for itself and is the best

evidence of its contents. To the extent the allegations state otherwise, they are

denied.

      11.    RGS admits only that part of its business involves the collection of

unpaid accounts and obligations. Except as specifically admitted, RGS denies the

allegations in ¶ 11.

      12.    RGS denies the allegations in ¶ 12 as calling for a legal conclusion.

      13.    RGS denies the allegations in ¶ 13 for lack of knowledge or

information sufficient to form a belief therein.

      14.    RGS denies the allegations in ¶ 14 as written.

      15.    RGS denies the allegations in ¶ 15 as written.

      16.    RGS admits only that plaintiff called it to discuss her unpaid accounts

on December 9, 2019. Except as specifically admitted, RGS denies the allegations

in ¶ 16.

      17.    RGS denies the allegations in ¶ 17.

      18.    RGS denies the allegations in ¶ 18.

                                  INJURIES-IN-FACT

      19.    The FDCPA speaks for itself and is the best evidence of its contents.

To the extent the allegations state otherwise, they are denied.

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       20.   RGS denies the allegations in ¶ 20 as calling for a legal conclusion.

       21.   RGS denies the allegations in ¶ 21 as calling for a legal conclusion.

       22.   RGS denies the allegations in ¶ 22.

       23.   RGS denies the allegations in ¶ 23.

                                       DAMAGES

       24.   RGS denies the allegations in ¶ 24, including its subparts (a) through

(c).

                                 CAUSES OF ACTION

                                        COUNT I

        VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                15 U.S.C. §§ 1692 et seq.

       25.   RGS reasserts the foregoing as if fully stated herein.

Violations of 15 U.S.C. § 1692e and its subparts

       26.   15 U.S.C. § 1692e speaks for itself and is the best evidence of its

contents. To the extent the allegations state otherwise, they are denied.

       27.   RGS denies the allegations in ¶ 27.

       28.   RGS denies the allegations in ¶ 28 as calling for a legal conclusion.

       29.   RGS denies the allegations in ¶ 29 as calling for a legal conclusion.

       30.   RGS denies the allegations in ¶ 30.

       31.   RGS denies the allegations in ¶ 31.
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      32.   RGS denies the allegations in ¶ 32.

                                       COUNT II

        VIOLATIONS OF THE GEORGIA FAIR BUSINESS PRACTICES
                 ACT – O.C.G.A. § 10-1-390, et seq.

      33.   RGS reasserts the foregoing as if fully stated herein.

      34.   RGS admits the allegations in ¶ 34.

      35.   RGS denies the allegations in ¶ 35 as calling for a legal conclusion.

      36.   RGS denies the allegations in ¶ 36 as calling for a legal conclusion.

      37.   RGS denies the allegations in ¶ 37 as calling for a legal conclusion.

      38.   RGS denies the allegations in ¶ 38.

      39.   RGS denies the allegations in ¶ 39.

      40.   RGS denies the allegations in ¶ 40.

      41.   RGS admits only that it does not have a place of business in Georgia.

Except as specifically admitted, RGS denies the allegations in ¶ 41 as calling for a

legal conclusion.

      42.   RGS denies the allegations in ¶ 42.

      43.   RGS denies the allegations in ¶ 43.

      44.   RGS denies the allegations in ¶ 44.

      45.   RGS denies the allegations in ¶ 45.

                                TRIAL BY JURY
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       46.    RGS admits plaintiff has requested a trial by jury but denies plaintiff

is entitled to any relief.

                                 PRAYER FOR RELIEF

       RGS denies that plaintiff is entitled to any relief, including the relief sought

in subparts (a) through (f).

                        RGS’S AFFIRMATIVE DEFENSES

       1.     To the extent that any violations are established, any such violations

were not intentional and resulted from bona fide error notwithstanding the

maintenance of procedures reasonably adopted and specifically intended to avoid

any such error.

       2.     RGS denies any liability; however, regardless of liability, plaintiff has

suffered no actual damages as a result of RGS’s purported violations.

       3.     One or more claims asserted by plaintiff are barred by the statute of

limitations, laches, estoppel, waiver, and/or unclean hands.

       4.     Assuming that plaintiff suffered any damages, she has failed to

mitigate her damages or take other reasonable steps to avoid or reduce her

damages.




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      5.     Any harm suffered by plaintiff was legally and proximately caused by

persons or entities other than RGS and were beyond the control or supervision of

RGS or for whom RGS was and is not responsible or liable.

      6.     Plaintiff fails to state a claim against RGS upon which relief may be

granted.

      WHEREFORE, defendant, Radius Global Solutions, LLC, respectfully

requests the Court dismiss this action with prejudice and grant it any other and

further relief the Court deems appropriate.

Date: March 3, 2020                    Respectfully submitted,

                                      /s/ Kirsten Smith
                                      Kirsten H. Smith (#702220)
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                                      Radius Global Solutions, LLC




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                 CERTIFICATE OF SERVICE & COMPLIANCE

      I hereby certify that on March 3, 2020, a copy of the foregoing was

electronically filed with the Clerk of the Court and served via CM/ECF upon all

counsel of record.

      I additionally certify that the above-referenced document has been prepared

in Times New Roman (14 point) font and this satisfies the font size requirements

of this Court.

                                     /s/ Kirsten H. Smith
                                     Kirsten H. Smith




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